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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:05CR3035
                                    )
           v.                       )
                                    )
JOSE ENRIQUE AYALA CHAVEZ,          )         REPORT, RECOMMENDATION
                                    )                AND ORDER
                Defendants.         )
                                    )


     The defendant has filed a motion to dismiss the six-count
indictment entered against him.         Filing 14.     Count I alleges the
defendant was involved in a conspiracy to distribute
methamphetamine from June 10, 2004 through February 14, 2005;
Counts II through V allege he possessed methamphetamine with the
intent to distribute, each count referencing a different date of
alleged possession; and Count VI alleges a forfeiture claim under
21 U.S.C. §853.    In requesting dismissal, the defendant argues:
1) this court lacks subject matter jurisdiction because the
defendant’s methamphetamine prosecution does not involve
interstate commerce, and 2) the six-count indictment against the
defendant is multiplicitous and violates the defendant’s Fifth
Amendment due process rights.       For the reasons discussed
hereafter, I conclude the defendant’ motion to dismiss should be
denied.


     1.    Federal Subject Matter Jurisdiction.


     Although the defendant argues that a federal court lacks
subject matter jurisdiction over the indictment in this case, he
also concedes that “[t]he Eighth Circuit and other courts have
universally determined that Congress did not exceed its authority
under the Commerce Clause by including methamphetamine
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enforcement under 21 U.S.C. §§841, 846.”              Filing 14 (defendant’s
brief) at p. 1-2 (citing United States v. Davis, 288 F.3d 359
(8th Cir. 2002); United States v. Patterson, 140 F.3d 767 (8th
Cir. 1998)).   The defendant argues, however, that the Eighth
circuit’s prior holdings must be “reconsidered because: (1)
Congressional findings of interstate nexus under the Controlled
Substances Act, 21 U.S.C. §801 are not supported by facts as
required by United States v. Lopez, 514 U.S. 549 (1995); (2) The
deciding courts mistakenly relied, either expressly or impliedly
upon Wickard v. Filburn, 317 U.S. 111 (1942); and, (3) The
Supreme Court has not addressed the Commerce Clause application
to intrastate methamphetamine cases when no factual interstate
nexus exists.”   Filing 14 (defendant’s brief) at p. 2.


     The Eighth Circuit has repeatedly and directly addressed and
rejected the arguments advanced by the defendant.                See United
States v. Koons, 300 F.3d 985, 992-93 (8th Cir. 2002)(the
enactment of 21 U.S.C. § 860(a), which provides that any person
who violates § 841(a)(1) (drug trafficking) or § 856 (drug
manufacturing) within 1,000 feet of a school or playground shall
be subject to twice the maximum punishment authorized by §
841(b), does not exceed congressional power under the Commerce
Clause); United States v. Carter, 294 F.3d 978, 981 (8th Cir.
2002)(Congress can regulate intrastate drug trafficking under 21
U.S.C. 841(a) because Congress has specifically found that local
manufacture and distribution of controlled substances
substantially affects interstate traffic in those substances);
United States v. Davis, 288 F.3d 359, 362 (8th Cir.2002)(Congress
may regulate intrastate drug trafficking under its Commerce
Clause authority “because of the effect that intrastate drug
activity has upon interstate commerce.”); United States v. Brown,
72 F.3d 96, 97 (8th Cir. 1995)(intrastate drug activity affects


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interstate commerce; Congress may regulate both interstate and
intrastate drug trafficking under the Commerce Clause); White v.
United States, 399 F.2d 813, 821-22 (8th Cir. 1968)(where Congress
has found that both intrastate and interstate illicit traffic in
depressant and stimulant drugs affects interstate commerce,
prosecution under the Drug Abuse Control Amendments of 1965 does
not require a showing that the drugs involved in a particular
transaction have moved in interstate commerce).


     This court is bound by Eighth Circuit law and is not
empowered to reconsider binding Eighth Circuit decisions and
apply a contrary legal principle in this case.             To the extent
that the defendant argues Eighth Circuit precedent is not
controlling herein because the prior Eighth Circuit cases did not
address the holding in United States v. Lopez, 514 U.S. 549
(1995), defendant’s argument is incorrect.            The defendant in
Carter argued that under Lopez, an intrastate drug crime such as
possession with intent to distribute does not substantially
affect interstate commerce, and therefore his conviction under 21
U.S.C. § 841 was invalid.      In rejecting the defendant’s argument,
the Carter court distinguished Lopez because Congress had made no
findings that the statute at issue in Lopez substantially
affected interstate commerce.        However, in enacting the
Comprehensive Drug Abuse Prevention and Control Act of 1970,
Congress specifically found that intrastate drug trafficking
affects interstate commerce.        See 21 U.S.C. § 801(3).         Since
Congress specifically found that a nexus exists between
interstate commerce and even intrastate drug crimes, Lopez does
not support the defendant’s claim that federal law cannot
regulate and criminalize intrastate possession and distribution
of methamphetamine.      28 U.S.C. § 841(a)(1) is a valid exercise of
Congress's Commerce Clause power.         Carter, 294 F.3d at 981;


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Brown, 72 F.3d at 97.     See also United States v. Puckett, 147
F.3d 765, 769 n. 4 (8th Cir. 1998).


     2.    Multiplicity and the Double Jeopardy Clause.


     The defendant also claims the indictment must be dismissed
because Counts II, III, IV, V and VI are all acts that occurred
during the same time period of the conspiracy alleged in Count I,
and therefore the indictment is duplicative and subjects him to
the possibility of being sentenced for each of the counts in
violation of the Double Jeopardy Clause of the Fifth Amendment.
He claims the court should issue an order dismissing the
indictment or, in the alternative, require the government to
elect between Count I or Counts II through VI.

     Although “the Double Jeopardy Clause forbids the duplicative
prosecution of a defendant for the ‘same offence,’” (United
States v. Felix, 503 U.S. 378, 385 (1992)), a single transaction
comprising a conspiracy can give rise to distinct offenses under
separate statutes without violating the Double Jeopardy Clause.
Albernaz v. United States, 450 U.S. 333, 339-40 (1981)(holding
that a single conspiracy which included both importation and
distribution of marijuana could be charged as two distinct
offenses).   “'It is well established that when an indictment
charges both a conspiracy to engage in a course of criminal
conduct and a substantive offense committed pursuant to that
conspiracy, the accused, upon conviction, may be punished both
for the conspiracy and for the substantive offense.’                 It is also
clear that the federal courts have inherent power to impose
consecutive sentences unless otherwise specified by the statute
defining the specific offense involved.”              Pegram v. United




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States, 361 F.2d 820, 821 (8th Cir. 1966)(quoting Pinkerton v.
United States, 328 U.S. 640 (1946)).


     The Count I conspiracy charge alleges the defendant violated
21 U.S.C. § 846.    Counts II through V charge the defendant with
illegal drug possession with the intent to distribute in
violation of 21 U.S.C. 841(a)(1) and 841(b)(1).             Though the
evidence supporting Counts II through V may also support Count I,
the charges in Counts II through V are separate and distinct
offenses that are not merged in the Count I conspiracy charge.


     It has been long and consistently recognized by the
     Court that the commission of the substantive offense
     and a conspiracy to commit it are separate and distinct
     offenses. The power of Congress to separate the two
     and to affix to each a different penalty is well
     established. A conviction for the conspiracy may be
     had though the substantive offense was completed. And
     the plea of double jeopardy is no defense to a
     conviction for both offenses. It is only an identity
     of offenses which is fatal. A conspiracy is a
     partnership in crime. It has ingredients, as well as
     implications, distinct from the completion of the
     unlawful project.

Pinkerton, 328 U.S. at 643-44 (internal citations omitted).


     For the jury to find the defendant guilty of possession with
intent to distribute, the government must prove the defendant (1)
possessed cocaine, (2) knew that what he possessed was a
controlled substance, and (3) intended to distribute the
substance he possessed.     United States v. Serrano-Lopez, 366 F.3d
628, 634 (8th Cir. 2004).     To convict a defendant of conspiracy to
distribute under 21 U.S.C. § 846, the government must prove an
agreement between two or more people, including the defendant,




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for the purpose of engaging in distribution of drugs.                 United
States v. Aranda, 963 F.2d 211, 214 n. 3 (8th Cir. 1992).                 The
Government need not prove the defendant committed any overt act
in furtherance of the conspiracy.           United States v. Shabani, 513
U.S. 10, 15 (1994).       Since the conspiracy offense and the
offenses of possession with intent to distribute involve
different elements, the charges are not duplicative in violation
of the Double Jeopardy Clause.         United States v. Frayer, 9 F.3d
                    th
1367, 1372 -73 (8        Cir. 1993)(Double Jeopardy Clause does not
prevent a conspiracy prosecution after a prosecution for
possession with intent to distribute).


     Count VI of the indictment is a criminal forfeiture charge
under 21 U.S.C. § 843.       This forfeiture charge was presented in
accordance with Federal Rule of Criminal Procedure 32.2, adopted
in 2000, which provides:


     A court must not enter a judgment of forfeiture in a
     criminal proceeding unless the indictment or
     information contains notice to the defendant that the
     government will seek the forfeiture of property as part
     of any sentence in accordance with the applicable
     statute.

Property is subject to criminal forfeiture where the government
proves by a preponderance of the evidence that the property was
used or intended to be used to commit or facilitate the
commission of the underlying drug offense.              United States v.
Cuervo, 354 F.3d 969, 996 (8th Cir. 2004).


     Although the criminal forfeiture charge is included in the
indictment, forfeiture is an aspect of the sentence imposed in a
criminal case.   It is not a separate criminal offense.                Libretti
v. United States, 516 U.S. 29 (1995).            Congress has clearly


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designated criminal forfeiture proceedings under § 843 to be part
of the sentencing or punishment phase for persons convicted of
drug offenses.   Thus, although charged as a count in the
indictment, criminal forfeiture is neither an element of a
criminal offense nor a criminal offense itself.             United States v.
Bieri, 21 F.3d 819, 822 (8th Cir. 1994)(en banc).


     The Double Jeopardy Clause “protects only against imposition
of multiple criminal punishments for the same offense,. . . and
then only when such occurs in successive proceedings.”               Hudson v.
United States, 522 U.S. 93 (1997).         Since the Count VI forfeiture
charge is not a criminal offense, Counts I and VI cannot be the
“same offense” for the purposes of the Double Jeopardy Clause.
Assuming the Count VI criminal forfeiture charge seeks punishment
against the defendant, “[w]ith respect to cumulative punishments
imposed in a single criminal proceeding, the Double Jeopardy
Clause does no more than prevent the sentencing court from
prescribing greater punishment than the legislature intended.”
Missouri v. Hunter, 459 U.S. 359, 366 (1983).            The simultaneous
pursuit of criminal convictions under 21 U.S.C §§ 841 and 846 and
a § 853 criminal forfeiture of property and proceeds used in
committing these drug-related crimes does not violate the Double
Jeopardy clause of the Fifth Amendment.          United States v. O'Dell,
247 F.3d 655, 677 (6th Cir. 2001)(Double Jeopardy does not apply
to sentencing proceedings such as criminal forfeitures under 21
U.S.C. § 853).


     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard
G. Kopf, Chief United States District, pursuant to 28 U.S.C.
§636(b)(1)(B), that the defendant’s motion to dismiss, filing 14,
be denied in all respects.

     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may


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be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.


     IT IS FURTHER HEREBY ORDERED: Trial is set for 9:00 a.m. on
August 15, 2005 for a duration of four trial days before the
Honorable Richard G. Kopf. Jury selection will be at the
commencement of trial.

     DATED this 28th day of June, 2005.


                                    BY THE COURT:
                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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